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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
ILLINOIS EASTERN DIVISION RECEIVE C2

Plaintiff(s): Dena Walls, et, al Case#: rep Ne 2090
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Vs. THOMAS G. BRUTON

Defendant(s) Individually and in his or her official capacity as: City SAK ss BISIRGS URE
Chicago Police Employee Lawana Jones-Williams et, al, City of Chicago Police Sgt. Bryan
Harty #1952, et, al, City of Chicago Police Officer Tolliver #19565, et al, City of Chicago, Det.
Veronica Tamez #20708, et al, City of Chicago Police Officer Aguaf #8039, et al, City of
Chicago Police Officer Farano #18799, et al, City of Chicago Sgt. Mirus #866, et al, City of
Chicago Officer Glinsey #14245, et al, City of Chicago Sgt. Berry, Third District, et al, City of
Chicago Building Inspectors, et al, City of Chicago Building Inspector Deputy Commissioner,
Marlene Hopkins, et al, City of Chicago Department Family and Support Service, et al. City of
Chicago Family Support Service Ombudsman, Sharon Jones, et al, The Office of the Cook
County Public Guardian, et al, Cook County Public Guardian, Charles P. Golbert et, al, Attorney
Amy Kessler #70500 et, al, Attorney Michaela Franco, et al, Nicole Goss-Smith, et al, Thomas
Brennan, et al, Symphony of South Shore Nursing Home et, al, Lori Smith, et al, LaNasha
Williams, et al, Eleanor Watson, et al, Asia Craig, et al, Joseph W. Pieper, Attorney at Law,
LLC, et, al, Hayley Pieper et, al, Attorney Joseph Pieper #56241, et, al, Stern and Associates, et
al, Attorney Adam Stern #39152, et al, Patricia A. Bishop, et al, Chicago Volunteer Legal
Services, et al, Law Office of Kathleen Meersman-Murphy, LLC, et al, Attorney Kathleen
Meersman-Murphy #24332, et al, Rebecca Chacko, et, al, Attorney Michael Leonard, et, al,
Leonard Meyer, LLP, et, al, Chief Judge Timothy Evans et, al, Judge Jesse Outlaw #2178, et, al,
Judge James Flannery, #1505, et, al, Judge Daniel Degnan#2074 et, al, Judge Daniel Malone
#2012, et, al, Judge James Murphy#1933, et al, Cook County Assist State Attorney Alvin Portis
#10295, et, al, Kwame Raoul, Attorney General State of Illinois#99000, et, al, Katherine Snitzer,
Assistant Attorney General, et, al, State of Illinois Judicial Inquiry Board, et al, Executive
Director, Kathy D. Twine, et al, Illinois Court Commission, et al, Attorney Registration and
Disciplinary Commission, et, al. Senior Counsel, Karyn A. Bart, et al, Advanced Neurological
Associates, et, al, Geoffrey S. Shaw, M.D., et al, 53" Bancorp Headquarters et, al, SSA Special
Agent Kasey Ladd, et al, and other as yet unknown defendants.

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

* This is a claim for violation of plaintiffs civil rights as protected by the constitution and
laws of the United States under 42 USC 1983, 1985, and 1986

¢ The Court has jurisdiction under 28 USC 1343 and 1367

¢ Plaintiff's full name is Dena Walls
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Judge: Joan B. Gottschall .
Magistrate Judge: Jeffrey Cummings

 

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Introduction
I Dena Walls, being duly sworn on oath, depose and states as follow:

From October 2017 and continuing thereafter, in the County of Cook, State of Illinois, and the
City of Chicago when defendants violated plaintiff's civil rights as follows:

* Failed to intervene to protect plaintiff from violation of plaintiff's civil rights by one or
more other defendants.

* Conspired together to violate one or more of plaintiff's civil rights, knowingly,
intentionally, willfully and maliciously.

* Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as conspiracy and any other claims that may be supported by the allegations of this
complaint.

* Plaintiff request that the case be tried by a jury.
As a result of the defendant's misconduct, plaintiff was injured and further alleges as follows:
Background

* In March 2015, Defendant Patricia A. Bishop (Patricia) obtained a fraudulent Power of
Attorney (POA) from principal Charles Walls (Mr. Walls) appointing her as agent of

property.
* In June 2017, defendant Patricia Bishop kidnapped Mr. Walls from his home and signed

him into an Assistant Living home against his will in an effort for her and Chicago police
employee Lawana Jones Williams (Lawana) to sell his home.

* In August 2017, fraudster Patricia attempts to sell Mr. Walls property and Plaintiff first
learn of the fraudulent POA.

* October 2017, Ms. Walls file for guardianship of Mr. Walls at Cook County Circuit
Court at the Daley Center in the Probate division.

* September 2018, co-conspirator Patricia illegally signed Mr. Walls into Symphony of
South Shore nursing home as a permanent resident

* September 2018 co-conspirator Patricia Bishop fraudulently transferred the fraudulent
POA to The Office of Public Guardian (OPG) and the plaintiff petition to become her
father’s guardian was fraudulently withdrawn by her ex-attorney Joseph Pieper (Mr.
Pieper).

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November 2018, the plaintiff reported Mr. Walls’ abuse and neglect in the nursing home
to co-conspirators Judge Outlaw including Guardian ad Litem (GAL). The PG is
fraudulently appointed plenary guardian of Charles Walls.

December 2018, the plaintiff spoke with Amy Kessler (Ms. Kessler) attorney for OPG
about Mr. Wall’s abuse and neglect in the nursing home, Ms. Kessler stated she will not
be removing him. The plaintiff filed a motion and petition to reinstate her petition to
become her father's guardian again.

Six months later in June 2019, Mr. Walls met his early demise from neglect in an abusive
guardianship.

June 2019, the plaintiff filed an injunction to stop the sale of Mr. Wall’s home and any
liens on the property, in Circuit Court Chancery division, which was fraudulently
transferred to the Probate division over her objection.

October 2019 co-conspirator Adam Stern (Mr. Stern) is self-dealing using co-conspirator
Patricia Bishop to file frivolous petitions and motions.

October 2019 OPG present first and final fraudulent accounting to the court, case
continue to December 2019 for brief of plaintiff objections and OPG response.

January 2020, co-conspirator Patricia is fraudulent appointed Administrator of the estate
of Charles Walls over the plaintiff objection and cross petition

Fraud

The plaintiff remains in the family home where she has lived most her life with her
parents and three siblings and became her fathers' caretaker over the last decade after her
mother’s untimely death in January 2007, which left Mr. Walls devastated. The plaintiff
mother was the glue that held the family together, while Mr. Walls was the provider and
head of household, always working making sure his family had what was needed.

After the passing of the plaintiff mother, the plaintiff sister fraudsters Patricia and step-
sister Chicago Police employee Lawana engaged in illegal, criminal and unethical
misconduct, knowing Mr. Walls would need assistance with conducting his financial
affairs as he did not have any previous experience in using bank cards or writing checks.
Lawana initiated the fraud scam and immediately positioned herself to become Mr. Walls
Social Security Administration (SSA) Payee, defrauding the government violating 18
USC 371, while using his money as her own.

Co-conspirator Patricia, pushed forward and made a move to secretly conspire with
Notary Public, Krystyna Gal-Mazur to obtain a fraudulent Power of Attorney (POA)
appointing her Agent of Property. The POA has no signature of Agent Certification and

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of Authority, it was not drafted by an attorney nor were there any witnesses, and it
appears to be a form created from the internet. Mr. Walls lacked the capacity to
understand the magnitude of the POA, however fraudsters Patricia and Lawana both still
took advantage of him, knowing he was starting to deal issues as he was getting older.

Fraudster Patricia NEVER acted in the best interest of Mr. Walls, she only obtained the
fraudulent POA for her monetary gain, and intentionally and maliciously cause harm to
the plaintiff and her family. Fraudster Patricia couldn't wait, two weeks after she obtained
the fraudulent POA, she went against Mr. Walls wishes and changed his life insurance
policy. As a result of this illegal change, harm was caused to the plaintiff which cancelled
her as an original equal recipient of the policy. As a Chicago Police employee, who is
supposed to have morals, Lawana knew this was an illegal act and she did nothing to stop
it as she would continue to gain financially.

With that being said, Fraudster City of Chicago Police employee Lawana has managed to
embezzle, comingle and misappropriate hundreds of thousands of Mr. Walls’ money to
fund her gambling addiction and family lifestyle, leaving him absolutely nothing. Lawana
committed a criminal felony by forging Mr. Walls’s signature and illegally signing as
POA, when the plaintiff no of such documents nominating her agent in addition to
hundreds of questionable daily withdrawals made at ATM’s. The SSA Inspector General
and Internal Affairs are requested to investigate

Under the POA Act, an agent shall act in good faith for the benefit of the principal using
due care in accordance with the terms of the agency, 755 ILCS 45/2-7(a), section 755
ILCS 45/2-7 further states that fraudster Patricia shall be liable for negligent exercise of
the agency while acting as agent under POA. In addition, the financial exploitation is
known to have occurred over a decade, with the help of Patricia who did not safe guard
Mr. Walls finances. Lawana also failed to honor the Police department Rules of Conduct
and has proven to be a police employee that has NO INTEGRITY.

Bank Negligence

A fiduciary relationship existed between Mr. Walls and 53rd bank, when Mr. Walls
opened several bank accounts. 53rd Bank has been negligent and extremely lax about
protecting Mr. Walls’s bank accounts and should be held accountable for allowing
Lawana to access, forge signatures, complete withdrawals and sign as POA, without
recognizing signatures, proper paperwork and applying bank protocol by intentionally
and or negligently deviating from its own Anti-Fraud procedure. 53rd Bank is the
proximate cause of Mr. Walls’s loss, breaching duty of Ordinary Care and should be held
accountable for Mr. Walls’ loss.

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Kidnapping Conspiracy

Co-conspirators Patricia and Lawana Overt Acts to intentionally cause harm to the
plaintiff and her family to see them homeless and put her in the worst possible position.
Unbeknownst to the plaintiff, they started a campaign to force the sell of Mr. Wall’s
property, where the plaintiff resides. On or about June 12, 2017, co-conspirator Lawana
served the second -floor tenants with a fraudulent, forged signature 30-day Notice to
Vacate, and on the following father’s day weekend co-conspirators Patricia, under false
pretense of taking Mr. Walls to a Father's Day dinner and she never returned him back to
his home, violated 18 USC 1201 and abruptly kidnapped Mr. Walls from his home, a
place that holds so many special memories for him. The plaintiff was so concerned, she
filed a missing person report with the City of Chicago Police Department as Patricia cut
off communication to Mr. Walls and the plaintiff did not know where Patricia lived. Had
the officers did his job and properly investigated the claim and brought Mr. Walls back to
his home, it is very possible he could still be alive today.

With Mr. Walls out the home and held hostage allegedly in the custody of Patricia, on or
around July 3, 2017, co-conspirator Patricia, violated the plaintiff rights, resorting to
unlawful behavior, harassment and engaged in self-help evictions, by intentionally, and
illegally disconnected the utilities at the home the plaintiff and her family live in on
several occasions making the residence uninhabitable, in an effort to force the plaintiff
out of her home. Due to fraudster Patricia malicious act, she caused the plaintiff great
harm and financial devastation as she had to replace most of the food in her refrigerator,
and caused a major inconvenience as she was preparing a gathering for the holiday and
her son's birthday.

Since being abducted from his home, and forced to live in nursing facilities against his
will, Mr. Walls' health declined. After 5 months at the nursing home, around February
2018, Mr. Walls was evicted from Sunrise Assisting Living facility, where fraudster
Patricia failed her duties as agent and did not pay the bills for him to reside there. The
moves fraudster Patricia has made along with her actions shows a great lack of
intelligence and common sense that was not in the best interest of the principal.

In the plaintiff effort to protect her, her family and her father from further harm, Ms.
Walls filed for guardianship at Cook County Circuit Court Probate Division October
2017 only for her efforts to be sabotaged and become a victim of conspiracy, fraud,
obstruction of justice, violation of rights, judicial organized crime, De Facto policies,
attorney unionized misconduct and can't leave out The Office of Public Guardian greed.

Fraudulent Attorneys

In January 2018 Ms. Walls, retained fraud attorneys Joseph (Mr. Pieper) and Hayley
Pieper (Ms. Pieper) of Joseph W. Pieper, Attorney at Law, LLC for representation in the

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probate case. It was at this meeting they discussed goals such as: getting the fraudulent
POA revoked, work toward becoming her father’s guardian, and returning him back to
their home, not one goal was obtained under Joe’s fraudulent counsel, which will be
discussed further later.
|
|

* Other attorneys on the probate case, consist of fraudster Adam Stern (Mr. Stern) as
fraudster Patricia attorney, Fraudster City of Chicago Police employee Lawana never
retained counsel and rode on the coat tail of fraudster Patricia using fraudster Adam as
their attorney. Fraudster Kathleen Murphy (Ms. Murphy) was the second court appointed
GAL, as the first one mysteriously left the case to go work for fraudster Joe Pieper at his

law firm and to round it off fraudster probate Judge Jesse Outlaw (Judge Outlaw)

Attorney Conspiracy / Misconduct

* After Mr. Wall’s eviction from Sunrise Assistant Living, co-conspirator Patricia illegally
held Mr. Walls against his will at her residence from February to August 2018. It was
during this time Mr. Pieper used his friend’s as referrals, co-conspirators Benjamin Topp,
to become Mr. Wall’s guardian at his facility for kickbacks and Dr. Geoffrey Shaw M.D.,
(Dr. Shaw). Mr. Pieper actually insist the plaintiff use Dr. Shaw whom got the ball
rolling, with a house visit to stretch and manipulate the facts and fraudulently declare Mr.
Walls as incapacitated while he referenced medical conditions that does not exist in his
report.

* Co-conspirator Dr. Shaw is not an appropriate individual to certify Mr. Walls as having
anything wrong with him, especially due to his already illegal involvement in Medicare
Medicaid conspiracy fraud scams, claiming people incompetent when they’re not.
However, co-conspirator Mr. Pieper needed probate court Dr. Shaw fraudulent medical
approval to move forward with the scam to sabotage the plaintiff case and put Mr. Walls
in a nursing home to steal his assets. It is also the plaintiff belief, Mr. Walls was
prescribed additional medications while allegedly at co-conspirator Patricia home, where
he became ill in her care.

* While still held hostage allegedly in co-conspirator Patricia care, co-conspirator, GAL,
Ms. Murphy met with Mr. Wall and during this meeting he stated to Ms. Murphy "HE
WANTED TO LIVE IN HIS HOME" and it didn’t matter which one of his daughters
became his guardian. Ms. Murphy made no effort to carry out Mr. Walls wishes,
depriving him of his civil and constitutional right to live in HIS home. From all
indications, Mr. Walls was deliberately withheld from court hearings to keep him from
testifying about his wishes and desires to rightfully live in his home.

¢ After months of litigation, subpoenaed evidence against fraudster Patricia proved she and
fraudster Lawana violated their fiduciary duties so much so fraudster Patricia was willing
to resign as fraudulent POA in favor of the OPG plenary guardianship. Legally Patricia

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can decline to serve as agent, but CANNOT give or transfer her authority under POA to
another; she CANNOT choose who takes over her duties. Especially a duty she never
had to start with, specifically POA over person.

Meanwhile, the plaintiff conspiring attorney Mr. Pieper had gained her trust and
confidence through his web of lies, pretending to entertain one set of intentions, while
acting under the influence of another acting in bad faith misleading the plaintiff and
violated her constitutional rights. Co-conspirator Mr. Pieper reminded the plaintiff “She
MUST trust him, he and his team are the ones with legal experience and knowledge”,
Mr. Pieper also confirmed he believed the case was going in the right direction and he
believed the plaintiff will eventually be appointed guardian of her dad, only for Mr.
Pieper to eventually make an erroneous decision becoming completely disingenuous
violating Professional Rule of conduct 8.4, committed attorney misconduct, dishonesty,
misrepresentation, fraud and deceptive practices to double deal and conspire with the
other officers of the court, obstruct justice for the plaintiff and withdrew her petition for
guardianship to help conspire with the other members of the case to get the PG in place.

The plaintiff would never agree to withdraw her petition as she was the one who filed to
become her father’s guardian. As a result of co-conspirator Mr. Piepers malicious act the
plaintiff suffered extreme emotional distress, not only did co-conspirator Mr. Pieper
violated the plaintiff rights but he compound her legal problems, he knew the outcome of
the case if he withdrew her petition therefore, Mr. Pieper and his law firm, is the direct
and proximate cause for all foreseeable harm, and setbacks caused to the plaintiff as she
proceeded as a self-representing litigant while she continue to seek justice for herself and
the untimely death her father.

And not to leave out co-conspirator predator Adam Stern who is like a vulture eating off
the carcass of dead people using his attorney license and the court to have access to the
assets of the decedent, while filing vexatious motions and petitions. Money hungry Adam
Stern and his client Patricia are working in cahoots against, the plaintiff who has been
fighting for the estate and justice for her father since day one, alerting anyone who would
listen that her father was in an abusive and neglectful guardianship. While fraudster
Adam Stern is threatening and obstructing justice for the plaintiff, demanding the
plaintiff recent attorney Rebecca from Leonard and Meyer LLC, not to request vital
paperwork from the PG on the plaintiff behalf and forced the law firm to withdraw from
the case. Conspiring Adam Stern comes to every court hearing, state he is representing
co-conspirator Patricia and say nothing else during court, because he's with the people
who look to cause harm to the plaintiff. Adam Stern position in the case, is to
fraudulently get his client in control of the Mr. Walls estate, steal money out the estate
and eventually see the plaintiff out of her home of over 20 years. If Adam Stern is
looking to get money from ANY ESTATE, he needs to take money from HIS CLIENT

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AND OUT OF HER HOME, NOT them trying to IILEGALLY STEAL the plaintiff
inheritance from her parent’s estate.

SHYSTER Adam Stern has a history of previously being accused by other elderly
victims and their families, using the same illegal conspiring tactics used on the plaintiff
and her father and that is a matter of record. Acting in concert agreeing among
themselves to cause harm to the plaintiff all the while knowing that they have no legal
rights to do so, has caused the plaintiff extreme emotional distress and financial hardship.

Mr. Walls (deceased)

While the plaintiff was being lied to by her crooked conspiring attorney Joe Pieper, In
September 2018, co-conspirator Patricia illegally sign Mr. Walls into, in the plaintiff
opinion, one of the worst nursing homes in Illinois Symphony of South Shore Nursing
Home as a permanent resident, not only did she abuse Mr. Walls, as his fraudulent agent,
but she continue to put him in positions to be abuse and neglected for her personal gain as
she is still trying to steal the plaintiff inheritance.

Let’s talk about Mr. Walls for a minute, since he was treated as a dead person with no
respect and rights before he actually met his demise. No one asked him what he wanted.
With that being said, prior to being abducted from his home, Mr. Walls was doing very
well for himself at the age of 82. He had just stop working December 2014 due to a foot
injury on the job, there were no history of illness, nor trips to the emergency room while
living in his home. He would start his day first by checking his hygiene, cloth himself,
feed himself after meals were prepared, he was assisted with his medications, he would
attend to his dog, take out the garbage, do yard work, traveled throughout the building
often visiting the plaintiff apartment, you could find him fixing things around the house,
sitting outside on the front porch for sunshine and fresh air, communicating with
neighbors, make and receive phone calls, and just simply enjoyed his retirement in the
comfort of his home of 50 years with his family.

People get so caught up in labeling someone trying to make money off them and forget
about the person, who he was, his character, his spirit, his commitment to his family and
how he held himself to a certain standard. And while the officers of the court and the PG
are playing court room games with his life, Mr. Walls was a human being and NOT a
commodity, he was: someone's Husband, Father, Grand Father, Great-Grand Father, Son,
Brother, Uncle, Friend, Co-Worker, Neighbor etc..., while being labeled as a “‘Ward” by
the courts and being neglected and abused by the system. Those that did not know Mr.
Walls would have liked and respected him as he worked hard and accomplished so much
for himself, only for him to be held against his will in nursing home facilities, injured so
many times he became crippled in a wheel chair, suffered brain bleeds from multiple fall

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injuries, malnutrition, dehydrated, abused, neglected, and body traumatized from over
medicating him with antipsychotic drugs to alter his mind and keep him subdued.

Due to Mr. Walls’ daughter co-conspirator Patricia desperate act to kidnap him from his
home has cause a trickle down nightmare effect for the plaintiff and her family, who lived
with him. The plaintiff was deprived of at home family time, holidays, birthdays and
other special events with her father as they have enjoyed the company of each other over
the last twenty years together. Patricia selfish act has caused the plaintiff extreme
emotional distress, negligent and intentional infliction of emotional distress, pain and
suffering, anxiety and loss of enjoyment of life and caused Mr. Walls to unnecessarily
deal with depression being away from his home, family and dog. Rest In Peace Mr.
Walls.

The Guardian ad Litem (GAL) conspiracy/misconduct

At this point co-conspirator Patricia has been very irresponsible and given up her rights to
her father and his estate, the plaintiff petition to become her father’s guardian was
fraudulently taken away from her and co-conspirator City of Chicago Police employee
Lawana just don't care one way or the other, she had drained her father of all his funds
down to less than two dollars. It is GAL Ms. Murphy job to work in the best interest of
Mr. Walls and he immediately became ill at Symphony Nursing Home and was rushed to
Trinity Hospital in November 2018, with severe urinary tract infection and dehydration,
Subsequently, court was in a couple days, and the plaintiff and her daughter DeAna were
very emotional when they addressed co-conspirator Judge Outlaw with their concerns
that Mr. Walls was being abused, starved, neglected and over-medicated in the nursing
home and she wanted him to return home.

The plaintiff never witnessed her father in this state before, and it was devastating to see
him like this. Mr. Walls was very incoherent, could not talk and had lost a tremendous
amount of weight. The plaintiff also mentioned to Judge Outlaw her dislike for the way
GAL Ms. Murphy was doing her job, Ms. Murphy did not know Mr. Walls was in the
hospital, she did not know why he was there and most importantly, she didn’t know who
was making medical decisions for him. How is this possible when Chicago Volunteer
Legal Services (CVLS) sent her to be “eyes and ears of the court” for Mr. Walls. She had
no knowledge of Mr. Walls’s whereabouts, and from all indications, Ms. Murphy failed
to do her job to protect and work in the best interest of Mr. Walls, which eventually lead
to his death.

Co-conspirator Judge Outlaw totally disregarded the plaintiff claims that she did not like
the way Ms. Murphy was doing her job when it came down to her father. The plaintiff

was staring to realize she and her father were truly experiencing “Elder Cleansing” by
way of the court asserting dominance over Mr. Walls life and his assets are bilked by the

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same guardian Judge Outlaw appointed to conserve his estate, they isolate him from his
home and family and drug him until he meets his demise.

* These well-organized blatant criminals of the court look out for each other. Ms. Murphy
turned her attention away from the fact Mr. Walls was in need to be recused from a
negligent situation to focus on helping conspire with her friend, the plaintiff ex-attorney
Joe Pieper. The plaintiff submitted a complaint to ARDC, for Mr. Pieper misconduct as
her attorney. Ms. Murphy has given her word in a sworn affidavit that the nursing home
is the BEST PLACE for Mr. Walls, after not visiting him at the nursing home and she
was told he was being abused and starved to death. I wonder if she would like to stay
somewhere she's being treated like this.

Attorney Regulation Disciplinary Commission (ARDC)

* Defendant and co-conspirator, Karyn A. Bart (Ms. Bart), by way of ARDC, has violated
Ms. Walls rights and from all indications did not investigate several cases, submitted to
the organization but enabled the attorney misconduct and giving favored attorneys a pass
on perfidy in the courtrooms. Ms. Bart failed to mediate on several valid complaints,
acting under the color of law. Ms. Bart, working for a public entity that’s funded entirely
by the annual registration fees paid by attorneys authorized to practice law in Illinois and
Mr. Pieper and other attorneys being a members of the organization creates conflict of
interest. How many attorneys are actually disciplined under ARDC? Ms. Bart and
ARDC organization as a whole needs to be investigated.

Judicial Corruption / Conspiracy

* The plaintiff has been wrongfully targeted, rights violated and has become a victim of a
criminal enterprise engaged in a pattern of organized racketeering activity and conspiracy
over the past several years. Co-conspirator Judge Jesse Outlaw, a highly corrupt judge
who violated the law and his oath of office has been part of problem and not the solution.
If the plaintiff cannot address the judicial system and seek justice for violating her
constitutional rights without becoming a victim, who can she turn to? Who’s judging the
judges, making sure they’re making lawful decisions?

* Obviously not Chicago Chief Judge Timothy Evans whom appoints the judges to the
bench at Cook County Circuit Court and the PG Charles Golbert to his position. Co-
conspirator Judge Outlaw actions to aid and abet co-conspirator Amy Kessler (Ms.
Kessler) attorney for the PG to threaten and harass the plaintiff to do an illegal inventory
of her home over her objections. Judge Outlaw even went as far as to threaten and bullied
the plaintiff with contempt of court if she didn’t allow Ms. Kessler into her home. Judge
Outlaw also deprived the plaintiff an opportunity to present her motion in court, but
allowed Amy Kessler to present her case. How is that fair practice? How is that allowing
Ms. Walls due process? It absolutely does not grant her equal protection of the law.

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The plaintiff vacated Judge Outlaw order on April 25th 2019 to do an inventory of her
home. However, Amy Kessler was so desperate to do the inventory, and not concern with
Mr. Walls heath, she took upon her own and came out to the plaintiff home on April 29th
2019 anyway with a team of people. The City of Chicago Building Inspectors and some
unknown City of Chicago Police officers, whom inflicted fear and terrorized the plaintiff
and her family threatening to kick in her door if she did not comply with the illegal
inventory, none of those people should have been at the plaintiff home at all that day. The
plaintiff showed court papers to six district City of Chicago Police officer Tolliver and
Sergeant Bryan Harty #1952, whom violated Ms. Walls’ rights and failed to serve and
protect and remove the perpetrators off her property as she requested and issue her a
police report for them trespassing.

Marlene Hopkins, Deputy Commissioner and City of Chicago Building Inspector
employees’ also attempt to enter the plaintiff home without proper paperwork to enter the
property however, after talking with Marlene, the plaintiff did allow Marlene and her
partner to do an inspection of the property. Marlene also spoke with Ms. Kessler about
the plaintiff concerns for her father’s safety at the nursing home, however, Ms. Kessler
totally dismissed Marlene claims and stated that his abuse has nothing to do with the
inventory. Amy Kessler really showed the PG was not working in the best interest of Mr.
Walls. The PG and corrupt attorney Adam Stern are still trying to finds ways to take Mr.
Walls home and the plaintiff inheritance, even in his death. Poor Mr. Walls met a
premature death six weeks after the inventory of his home of abuse and neglect, now lie
in an unmarked graved, with debt and unpaid bills which the PG should have paid. The
PG is not owning up to their responsibility as his plenary guardian and complying with
their own protocol but somehow looking to extort money from the estate for their
fraudulent service.

Co-conspirator Judge James Murphy#1933 and presiding Judge James Flannery, also
violated the plaintiff rights, violating Rule 298, denying her a fee waiver of court fees on
several occasions, which the plaintiff is eligible. Judge Flannery did everything in his
power to derail the plaintiff from filing her case in his division, by critiquing her
complaint in hope she would give up filing. Eventually, the plaintiff was told she has to
pay money by a certain date to file her case. Co-conspirator Judge Flannery and Murphy
violated their oath of office and code of conduct, by obstructing justice for the plaintiff to
receive the Fee Waiver.

Co-conspirator Kwame Raoul, State of Illinois Attorney General#99000 has violated the
plaintiff rights and failed to stop the illegal activity going on with the judges at the Circuit
Court of Cook County. In fact, Attorney General Kwame Raoul must be in total
agreement with the miscreant going against the law, because he dispatch assistant
attorney generals to represent and defend the corrupt judges and attorneys, who go
against the law, engage in acts of treason, and commit fraud while aiding and abetting,

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and conspiring to do wrong, to inflict damage on the plaintiff. Furthermore these officers
of the court should be using their own personal attorney to represent them not the
attorney general.

There is so much corruption and conspiracy that goes on at the Circuit Court and the
plaintiff has had her share of dealing with unlawful judges, however conspiring probate
co-conspirator judge Degnan is breaking all the rules doing whatever he wants, acting
Ultra-Vires. He and Judge Cohan illegally combined the plaintiff Chancery case with her
Probate case over her objection only for Judge Degnan to immediately dismiss her
Chancery case without proper due process. Johnson v. Zerbst, 304 U.S. 458, 58 S Ct.
1019; violating the plaintiff constitutional rights. Seventh Circuit Court of Appeals held
that the Circuit Court of Cook County is a criminal enterprise. U.S. v. Murphy, 768 F.2d
1518, 1531 (7th Cir. 1985). It is the plaintiff belief, that there is a need for another
Operation Greylord where many dishonest judges and attorneys were exposed and
convicted by a federal investigation of their criminal activity at the Circuit Court of Cook
County.

Co-conspirator judge Degnan obstruct justice, ignored the facts of the case and
supporting documents presented to the court by the plaintiff, in favor of aiding and
abetting the PG with illegal activity to get away with stealing Mr. Walls income. In fact
the PG caused Mr. Walls to lose income by not securing a tenant as he would have if he
was allowed to lawfully live in his own home according to the Colbert consent decree
and wasn’t being held against his will in a nursing home. Under Illinois law, and in
particular 755 ILCS 5/11A — 3b the Illinois Legislature has made it clear that
guardianship is not an invitation to exploit and abuse under court supervision elderly
people.

Judge Degnan has committed fraud upon the court, In Bulloch v United States, 763 F.2d
1115, 1121 (10th Cir. 1985) re Village of Willowbrook, 37 Il], App. 3d 393(1962) and
engaged in unlawful activity violating several rule of the judiciary code of conduct giving
co-conspirator Amy Kessler preference over the plaintiff, failing to comply with the law
and rule to take appropriate disciplinary action, when having knowledge of a violation of
Rule 8.4 of the Rules of Professional Conduct and did nothing to stop fraudster Amy
Kessler actions instead he conspire to obstruct justice, for the plaintiff.

From one crooked judge to another, co-conspirator Judge Malone failed to comply with
the law and impartiality of the judiciary, he violated Code of Judicial Conduct Rule 62:
Canon 2(A) (B) where he permit co-conspirator Adam Stern to convey the impression he
is in a special position as an attorney to influence the judge in doing what he wants done,
violating the plaintiff rights making her wait 2 hours for Adam Stern to present his case,
and her request to Want of Prosecution on January 9th 2020. I’m sure judge Malone went
against some type of court rule for time standard of dismissing cases in favor for his

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favorite Adam Stern and his client co-conspirator Patricia. It was very obvious it was a
conspired premediated court hearing. Co-conspirator judge Malone also violated Rule 63:
A (4) to make a reasonable effort consistent with the law and court rules for a self-
representing litigant to be fairly heard, instead Judge Malone ordered the plaintiff case
be dismissed because she was not represented by an attorney, violating her rights to
represent herself.

Judicial Inquiry Board / Illinois Courts Commission Misconduct

¢ The plaintiff has submitted one complaint after another to Kathy D. Twine, Executive
Director and General Counsel, of the Judicial Inquiry Board (JIB) who is put in place to
investigate complaints of misconduct of judges and the Illinois Courts Commission;
adjudicate cases brought by the board with no response from either entity or justice. The
JIB is very aware of the misconduct of the judges and refuse to discipline them
accordingly. Had co-conspirator Judge Outlaw, Degnan and more been called on their
behavior for depriving the plaintiff her rights, obstructing justice, aiding and abetting and
going against their Oath of Office maybe Mr., Walls will be alive today. Co-conspirator
judge Outlaw and more officers of the court needs to be disbarred, they're making a
living off the back of senior citizen.

Public Guardian Conspiracy / Neglect

* From all indication the PG is operating a racketeering enterprise through the probate and
family courts, conspiring with highly corrupt judges, crooked Chicago Police and
gangster type attorneys that uses their bar association license to go against the code of
conduct making a living off financially exploiting the elderly like Mr. Walls. The
objective of the enterprise is to violate the plaintiff rights, inflict severe and sustained
economic and financial hardship upon her and her family and deprive the plaintiff
enjoyment of life with the intent of impairing, preventing and obstructing justice for the
plaintiff as a self-representing litigant.

¢ PG claims to protect the likes of people like Mr. Walls who are on a fixed income and
suffer from memory complications from abuse and neglect are in fact themselves the real
perpetrators of elder abuse and exploitation. The PG NEVER worked in Mr. Wall’s best
interest and any income Mr. Walls had quickly lined the pockets of the PG and his crew
pockets with dishonest and fraudulent business dealings and that’s a fact. While under the
Public Guardian care, Mr. Walls lost his life.

¢ The racketeering organization OPG now looks to extort money out of the plaintiff and the
estate for fraudulent services they did not provide and force the property into foreclosure.
The plaintiff has requested reports from Tom Brennan and Nicole Goss the social worker
designated to visit Mr. Walls at the nursing home to see if she reported any abuse of her
father and the plaintiff still has not received anything from the PG. As Mr. Walls’

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right to know how her father was being treated in a facility that was supposed to house
and rehabilitate him. The plaintiff was puzzled as to why she was met with so much
opposition from the PG if both of their objective is the best interest of Mr. Walls and his
health. However, with the help of crooked judges like Judge Degnan and Outlaw who
pushes everything through for the PG, right or wrong, lawful or not, it's clear the OPG is
trying to extort money from the plaintiff and illegally steal her inheritance one way or
another, the property bills are still deliquent and the final accounting is all a fraud,
making Mr. Walls pay for situations that never happened. OPG literally stole is money
and didnt pay his bills.

Ombudsman Conspiracy

The plaintiff, spoke with City of Chicago Department of Family Services Ombudsman
official Sharon Jones, who is a protector of citizens against abuse of power and human
rights in April 2019. The plaintiff discuss with Ms. Jones Mr. Walls life threatening
situation under the abusive guardianship and wanted her to visit and inspect the situation.
The plaintiff is not sure if Ms. Jones visited her father or not, as Ms. Jones did not discuss
her findings with the plaintiff or if she reported her finds to the OPG, either way the
plaintiff was not given an update on her father’s well-being.

Police Conspiracy

The plaintiff constitutional rights was once again violated when she was denied basic
help and support from the Chicago Police Department. On May 5th, 2019, the plaintiff
visited her father as usual only to find that he had been abused, and recently hospitalized
without the fraudulent PG or nursing home notifying her. His teeth had been knocked out,
there was a huge gash above his left eye, hospital bands on his wrists, bandages on his
arms from shots and he appeared to be very weak. The plaintiff spoke with nursing home
staff Eleanor Watson, third floor nurse about his condition and she decline to provide
information about his injuries and direct her to contact the fraudulent PG. The plaintiff
and her daughter immediately left to go file a police report for nursing home abuse, as
this was not the first time she has found her father in this state. Once they arrived at the
police department she was met with rudeness and horrible service, from district three
Officer Glinsey #14245 and Sgt. Mirus #866 who refused to file a police report, when she
had filed a report there before, reporting nursing home abuse and neglect back in January
2019. Anyway Sgt. Mirus, directed the plaintiff to go back to the nursing home and call
the police from there.

Although it was confusing and frustrating to have to leave the police station to go back to
the nursing home to file the report, the plaintiff did so, in fact her daughter called 911
three times over an hour and no officer showed up. At this point the plaintiff and her
daughter left and filed a complaint with COPA for the police department horrible and

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lack of service. Sgt. Berry of district three contact the plaintiff about the investigation,

and still the plaintiff was denied a report because she was not at the nursing home where
the abuse took place. It appears the police are not here to serve and protect or provide a
service in a timely manner. Unfortunately, the plaintiff father met his premature demise a
month later after she was denied to report the abuse and neglect her father was enduring
while a resident in the nursing home. The plaintiff can’t help but wonder if she had
received even minimal service, support, and the police to take her concerns seriously, her
father would be alive today.

Nursing Home Neglect / Conspiracy

¢ Mr. Walls was a resident from September 2018 to June 2019, at Symphony of South
Shore a 248 bed nursing home facility in Chicago. They offer post-acute care and
rehabilitation, as well as long term care. From all indications, the facility website falsely
advertised the quality and service they offer, that their guest will feel like they are in a
fine resort with tranquility and comfort, with goal driven care, giving their guest their life
back, well too bad they neglect to offer the same service to the plaintiff and her family.
Mr. Walls endured so much in the short time he was there. Abuse, neglect, lack of care,
dehydration, excessive weight lost, urinary tract infections, use of chemical restraint and
mind altering drugs, falls, head injuries, bed sores, unsanitary and unclean conditions,
injuries requiring emergency treatment and hospitalization, illness not promptly
diagnosis, treated and reported to the plaintiff and a host of unexplained injuries. It
doesn’t sound like a fine resort with tranquility and comfort, it sound like a place of hell
with a lot of pain and discomfort.

¢ Mr. Walls suffered from poor personal hygiene and grooming, which require assistance
from the staff. His skin and scalp encrusted with filth is an indication no one is washing
him or his hair and clothes were always filthy from food as no one took the time to assist
him eating or protected his clothes from getting soiled, he always was in need of a pull up
change and when requested the plaintiff was met with attitude from the staff as if this is
not their job to make sure he is cleaned and changed in a timely manner. The plaintiff
spoke with several staff members, nurses, social workers and management from the
facility on several occasions regarding her dislike for the horrible treatment her father
was receiving. Overall, things remained the same or she was directed to speak with the
PG who did absolutely did not care about his well-being as his PLENARY guardian.

* Besides, labeled as a fall risk patient, Symphony of South Shore had a poorly designed
care plan to monitor Mr. Walls, as he suffered a multitude of head injuries leading to
brain bleeds and emergency room visits, accidents that the PG failed to inform the
plaintiff about. The staff is to help Mr. Walls move around, exercise and remain as active
as possible, a healthy and active care plan the PG should have made sure Mr. Walls
received. However, Mr. Walls was neglected and left for long periods of time in a wheel

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chair, eventually losing mobility without routine movement and developed severely
infected bed sores while failing to give him proper treatment to prevent new sores from
developing or to heal the existing ones eventually developed into sepsis.

Mr. Walls’ death was due to SEPTIC SHOCK, an advance stage of sepsis and
pneumonia, by way of neglect and improper treatment by the medical staff responsible
for his care and the PG who is in charge of his medical decisions and well-being.
Bacterial infection in the bloodstream was allowed to enter his body and developed into
sepsis, and was not treated quickly and appropriately, for this reason, his organs such as
kidney, lungs and liver begin to shut down leading to septic shock and ultimately
wrongful death. Symphony of South Shore Nursing Home and OPG is the direct cause of
Mr. Walls’ death due to their neglect and abuse of his medical care and well-being and no
regard for human life.

Claim for relief

As described above, all the defendants while acting individually, jointly, and in
conspiracy, as well as under color of law and within the scope of their employment
deprived the plaintiff of her constitutional right to a fair hearing and jury trial in violation
of the Due Process Clause of the 5th amendment and her constitutional right to Equal
Protection of the Law Clause of the 14th amendment, has made an obvious distinctions
between the defendants and the plaintiff by given them favor over the plaintiff. As a
result of this violation, Ms. Walls suffered emotional distress, negligent infliction of
emotional distress, loss of wages, travel expenses, pain and suffering, anxiety and
enjoyment of life.

As described above, the acts and conduct of the defendants, Symphony of South Shore
Nursing Home and the OPG were extremely negligent, and intended to cause harm and
totally disregarded the probability that their conduct would cause severe emotional
distress to the plaintiff. As the plaintiff was subjected to her father being abused from
chemical restraint medications to subdue him and with each visit it was something new to
witness like, busted mouth and teeth knocked out from falls, head injuries, health rapidly
deteriorating, emergency room visits and growing bed sores from neglect. As a direct and
proximate result of observing these negligent acts, the plaintiff suffered severe intentional
and negligent infliction of emotional distress, Pre-Death pain and suffering, loss of
enjoyment of life, anxiety and mental anguish.

As described above, one or more of the defendants violated the code of professional rules
and conduct, and as a result of the failure to intervene to prevent the violation of the
plaintiff constitutional rights, makes the defendants liable for failure to act which the
plaintiff suffered emotional distress, negligent infliction of emotional distress, loss of
wages and travel expenses, pain and suffering and anxiety and enjoyment of life.

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* Defendants, acting in concert, agreeing among themselves to intentionally cause harm to
the plaintiff by way of kidnapping Mr. Walls from the plaintiff home, steal her
inheritance, perform self-help eviction practices, to see her and her family in the worst
possible position, all the while knowing that the defendants had no legal right to do so.
The acts of the defendant outrageous conduct was undertaken with fraud, conspiracy and
malice. As a direct and proximate result of defendants calculated actions, the plaintiff
suffered emotional distress, financial loss, negligent infliction of emotional distress, loss
of wages and travel expenses, pain and suffering, anxiety and enjoyment of life.

¢ Defendants City of Chicago Police Department owe a duty to citizens, such as the
plaintiff to exercise care in the hiring, training and supervising of their employees, to
protect the plaintiff from employees that have no integrity and ignore the police rules and
regulations. The plaintiff was denied a police report on several occasions, denying her
equal protection of the law to serve and protect, and failed to conduct an internal
investigation and inquiry on the unethical police officers and employees who committed
such acts as discussed above. As a direct and proximate result of defendants’ negligence,
the plaintiff suffered the fatal loss of her father, emotional distress, and negligent
infliction of emotional distress, pain and suffering, anxiety, enjoyment of life and travel
expenses.

WHEREFORE, the plaintiffs respectfully prey’s that this court enter a judgement in the plaintiff
favor and against the defendants individually, jointly, and in conspiracy, as well as under the
color of law and within the scope of their employment and award:

* Plaintiff compensatory damages in an amount to be proven at trial

¢ Plaintiff exemplary and punitive damages in an amount to be proven at trial and such
injunctive, declaratory or other relief that may be appropriate, including attorney’s fees
and reasonable expenses as authorized by 42 USC. 1988 as well as any other relief this
court deems just and proper.

¢ Supporting documents given upon request

FURTHER, AFFIANT SAYETH NOT.
Dena Walls ((, ae lk ful

(3-0-3020

SUBSCRIBED and Sworn to this date Notary Public oh Tn

 

 
   

DEVON NASH
Official Seal
Notary Public - State of Illinois

My Commission Expires Aug 30, 2023

   
      

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